847 F.2d 740
    Brenda J. BOHANNON, Plaintiff-Appellee,v.ALLSTATE INSURANCE COMPANY, Defendant-Appellant.W.B. DAVIS, Jr., and all other persons similarly situated,Plaintiff-Appellee,v.GEORGIA FARM BUREAU MUTUAL INSURANCE COMPANY, Defendant-Appellant.Mrs. Rosetta PRESCOTT, and all other persons similarlysituated, Plaintiff-Appellee,v.NATIONWIDE INSURANCE COMPANY, Defendant-Appellant.Claude and Theresa NIX, Plaintiffs-Appellees,v.STATE FARM FIRE AND CASUALTY COMPANY, Defendant-Appellant.Lester C. MAY, Jr., and all other persons similarlysituated, Plaintiffs-Appellees,v.TRAVELERS INSURANCE COMPANY, Travelers Indemnity Company andPhoenix Insurance Company, Defendants-Appellants.
    Nos. 86-8432 to 86-8434, 86-8521 and 86-8593.
    United States Court of Appeals,Eleventh Circuit.
    June 20, 1988.
    
      Ronald L. Reid, Ricky Charles Silver, Nill V. Toulme, Nill V. Toulme, Alston &amp; Bird, Atlanta, Ga., for Allstate Ins. Co.
      John B. Long, Nixon, Yow, Waller &amp; Capers, Augusta, Ga., Irwin W. Stolz, Jr., Gambrell, Clarke, Anderson &amp; Stolz, Atlanta, Ga., for Bohannon.
      Morton G. Forbes, Birney Bull, Savannah, Ga., Denmark Groover, Jr., Macon, Ga., Nill V. Toulme, Alston &amp; Bird, Atlanta, Ga., for Georgia Farm Bureau Mut. Ins. Co.
      G. Brinson Williams, Jones, Osteen, Jones &amp; Arnold, Hinesville, Ga., for Davis.
      Stanley M. Karsman, Kenneth L. Royal, Savannah, Ga., Nill Toulme, Atlanta, Ga., for Nationwide Ins. Co.
      John B. Long, Nixon, Yow, Waller &amp; Capers, Larry I. Smith, Paine, Dalis, Smith &amp; McElreath, Augusta, Ga., Irwin W. Stolz, Jr., Gambrel, Clark, Anderson, Stolz, Atlanta, Ga., for Prescott.
      David R. Aufdenspring, Dean S. Daskal, Atlanta, Ga., for State Farm Fire &amp; Cas. Co.
      David F. Walbert, Walbert &amp; Hermann, Kenneth Behrman, Rand &amp; Exor, P.C., Atlanta, Ga., for Nix.
      Oliver B. Dickins, Jr., Bryan F. Dorsey, Nill V. Toulme, Atlanta, Ga., for Travelers Ins. Co., et al.
      John B. Long, Nixon, You, Waller &amp; Capers, Larry I. Smith, Augusta, Ga., James M. Thompson, Savannah, Ga., for May.
      Appeals from the United States District Court for the Southern and Northern District of Georgia.
      Before HILL and KRAVITCH, Circuit Judges, and TUTTLE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Following oral argument in these cases, we certified the question raised to the Supreme Court of Georgia.   Bohannon v. Allstate Ins. Co., 824 F.2d 950 (11th Cir.1987).  The Supreme Court of Georgia has now answered the question of Georgia law raised in this interlocutory appeal.   Allstate Ins. Co. v. Bohannon, 258 Ga. 131, 365 S.E.2d 838 (1988).
    
    
      2
      The district court certified plaintiff classes in these cases based upon the determination that the insurance policies involved provided no-fault coverage.  This court granted leave to appeal this important and controlling question pursuant to 28 U.S.C. Sec. 1292(b).  We certified the question to the Supreme Court of Georgia, which has found that the named plaintiffs' policies provided no-fault coverage.  The court further stated:  "[a]s to all the other members of the class we cannot say, but must leave that to be resolved on a contract-by-contract basis."    Id. 365 S.E.2d at 841 (footnote omitted).  The district court's certification of the plaintiff classes relied upon the finding that the class members' policies provided no-fault coverage.  In light of the Supreme Court of Georgia's contract-by-contract analysis, the nature of each potential class members' coverage must be evaluated.  We therefore vacate the district court's orders certifying the plaintiff classes and remand for further consideration of the certification issue consistent with the guidance provided by the Supreme Court of Georgia.
    
    
      3
      VACATED and REMANDED.
    
    